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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ACUITY, A MUTUAL                                 )
INSURANCE COMPANY,                               )
                                                 )
       Plaintiff                                 )
                                                 )       Cause No. 4:21-CV-01114
v.                                               )
                                                 )
RRR TRUCKING, LLC, TONY R.                       )
POPE, MICHAEL BAKER, DENISE                      )
KRAUS, JOHN BARRALE, JODY                        )
AMBERG, JESSIE MARIE                             )
CHRISTOPHER, ELIZABETH                           )
WILLIAMS, WENDY M. BIVINS,                       )
CRETE CARRIER                                    )
CORPORATION, AMERICAN                            )
FAMILY MUTUAL INSURANCE                          )
COMPANY, NATIONWIDE                              )
MUTUAL INSURANCE                                 )
COMPANY, MISSOURI                                )
DEPARTMENT OF                                    )
TRANSPORTATION, AND KEITH                        )
FRESHLEY,                                        )
                                                 )
     Defendants.                                 )

      DEFENDANT AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.’S
       ANSWER TO PLAINTIFF ACUITY, A MUTUAL INSURANCE COMPANY’S
        PETITION FOR INTERPLEADER AND FOR DECLARATORY RELIEF

         COMES NOW Defendant, American Family Mutual Insurance Company, S.I., and in

answer to Plaintiff Acuity, A Mutual Insurance Company's Petition, states as follows:

         1.        Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 1, and therefore, holds Plaintiff to strict proof

thereof.
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       2.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 2, and therefore, holds Plaintiff to strict proof

thereof.

       3.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 3, and therefore, holds Plaintiff to strict proof

thereof.

       4.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 4, and therefore, holds Plaintiff to strict proof

thereof.

       5.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 5, and therefore, holds Plaintiff to strict proof

thereof.

       6.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 6, and therefore, holds Plaintiff to strict proof

thereof.

       7.     Defendant admits Paragraph 7.

       8.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 8, and therefore, holds Plaintiff to strict proof

thereof.

       9.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 9, and therefore, holds Plaintiff to strict proof

thereof.
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       10.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 10, and therefore, holds Plaintiff to strict proof

thereof.

       11.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph11, and therefore, holds Plaintiff to strict proof

thereof.

       12.     Defendant admits Paragraph 12.

       13.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 13, and therefore, holds Plaintiff to strict proof

thereof.

       14.     . Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 14, and therefore, holds Plaintiff to strict proof

thereof.

       15.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 15, and therefore, holds Plaintiff to strict proof

thereof.

       16.     Defendant states that the allegations contained in Paragraph 16 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       17.     Defendant states that the allegations contained in Paragraph 17 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an
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answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       18.     Defendant states that the allegations contained in Paragraph 18 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       19.     Defendant states that the allegations contained in Paragraph 19 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       20.     Defendant states that the allegations contained in Paragraph 20 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       21.     Defendant states that the allegations contained in Paragraph 21 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

       22.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 22, and therefore, holds Plaintiff to strict proof

thereof.
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       23.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 23, and therefore, holds Plaintiff to strict proof

thereof.

       24.     Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 24, and therefore, holds Plaintiff to strict proof

thereof.

       25.     Defendant admits Paragraph 25.

       26.     Defendant admits Paragraph 26.

       27.     Defendant admits in part, and is without knowledge in part to the allegations

contained in Paragraph 27 and its subparts:

               a.      Defendant admits that Heather Baker was a pedestrian on or near the

       roadway at the time of the accident and was died as a result of the accident. Defendant is

       without knowledge as to the surviving family, heirs, and/or legatees of Heather Baker and

       therefore holds Plaintiff to strict proof thereof.

               b.      Defendant admits Paragraph 27(b).

               c.      Defendant is without knowledge as to the allegations contained in

       subsection (c) and therefore holds Plaintiff to strict proof thereof.

               d.      Defendant is without knowledge as to the allegations contained in

       subsection (d) and therefore holds Plaintiff to strict proof thereof.

               e.      Defendant is without knowledge as to the allegations contained in

       subsection (e) and therefore holds Plaintiff to strict proof thereof.

       28.     Defendant admits Paragraph 28.
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          29.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 29, and therefore, holds Plaintiff to strict proof

thereof.

          30.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 30, and therefore, holds Plaintiff to strict proof

thereof.

          31.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 31, and therefore, holds Plaintiff to strict proof

thereof.

          32.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 32, and therefore, holds Plaintiff to strict proof

thereof.

                   DEFENDANT’S ANSWER TO COUNT I - INTERPLEADER

          33.   For its Answer to Paragraph 33, Defendant restates and incorporates by reference

paragraphs 1 through 32 above, including any and all affirmative defenses, as if fully set out

herein.

          34.   Defendant admits Paragraph 34.

          35.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 35, and therefore, holds Plaintiff to strict proof

thereof.

          36.   Defendant has insufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 36, and therefore, holds Plaintiff to strict proof

thereof.
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          37.    Defendant admits Paragraph 37.

          38.    Defendant states that the allegations contained in Paragraph 38 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

                               DEFENDANT’S ANSWER TO COUNT II

          39.    For its Answer to Paragraph 39, Defendant restates and incorporates by reference

paragraphs 1 through 39 above, including any and all affirmative defenses, as if fully set out

herein.

          40.    Defendant states that the allegations contained in Paragraph 40 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

          41.    Defendant states that the allegations contained in Paragraph 41 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

          42.    Defendant states that the allegations contained in Paragraph 42 are surplusage,

specifically legal conclusions, not facts, to which no answer is required. To the extent such an

answer is required, Defendant states that it is without sufficient knowledge and information to

admit or deny any the allegations, and therefore, holds Plaintiff to strict proof thereof.

                         COUNTER CLAIM OF DEFENDANT
                AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.
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       COMES NOW Defendant American Family Mutual Insurance Company, S.I.,

(“American Family”) by and through counsel, and makes the following claim against Plaintiff

Acuity, A Mutual Insurance Company, as follows:

       1. Claimant/Defendant American Family incorporates by reference the admitted

allegations contained in Plaintiff’s Petition for Interpleader and incorporates the same by

reference herein.

       2. At all times relevant hereto, claimant/Defendant American Family insured the 2016

Honda CRV vehicle owned and operated by its insured Jody Amberg.

       3. On or about October 27, 2020, as a direct and proximate result of the negligence of

Plaintiff’s insured, Tony R. Pope, a motor vehicle collision occurred, resulting in property

damage to the 2016 Honda CRV insured by American Family Mutual Insurance Company, S.I.

in the amount of $15,868.50.

       WHEREFORE, Claimant/Defendant American Family Mutual Insurance Company, S.I.

prays this Court to enter a judgment in favor of said Defendant in an amount commensurate with

the evidence of Defendant American Family’s claim, against the amount interpleaded by the

Plaintiff. Defendant also prays this Court for an order allowing it to reserve any and all claims

that Defendant has against Tony R. Pope, to the extent Defendant’s recovery against the funds

interpleaded by the Plaintiff fail to fully satisfy Defendant’s claim herein.



                                                   ___________________________
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                                                 Attorney for American Family Mutual
                                                 Insurance Company, S.I.

                                CERTIFICATE OF SERVICE

I hereby certify that on this _14th___ day of _October, 2021___, this document was
electronically filed through the Court’s e-file system which will provide copies of same to all
attorneys of record.


                                                         ___________________________
